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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of New Jersey
NINA AGDAL
Plaintiff
V. ) Civil Action No.
DILLON DANIS
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: X Corp., 1355 Market Street, Suite 900, San Franciso, CA 94103

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:

Place: Please email to jshumofsky@sillscummis.com Date and Time:
Wheels of Justice, 507 Polk St., Ste. 320
San Francisco, CA; (415) 546-6000; Attn. Kevin Hu 03/15/2024 2:00 pm

|
|

O Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: Q{is/ a7

CLERK OF COURT
Signature of Clerk or Deputy Clerk bs ‘s signer |
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Nina Agdal
Joseph Shumofsky, Sills Cummis & Gross, P.C., , who issues or requests this subpoena, are:

One Riverfront Plaza, Newark, New Jersey 07102, jshumofsky@sillscummis.com, (973) 643-5382

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

© I served the subpoena by delivering a copy to the named person as follows:

on (date) ; OF

C I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc.:
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Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Jnaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

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X Corp.

1355 Market Street, Suite 900
San Francisco, CA 94103
https://t.co/Ir

Attn: Legal Compliance/Custodian of Records

SUBPOENA ATTACHMENT

TIME PERIOD — July 1, 2023 through the Present, unless otherwise specified

INSTRUCTIONS - For the time period indicated above, produce the records requested
below in the possession, custody or control of X Corp. (including, but not limited to, its
predecessors, successors, subsidiaries, and affiliates).

DEFINITION — “Agdal Posts” refers to the posts made by the Account that are identified in the
attached Appendix.

Records Requested

1. All subscriber information, including the name, address, telephone number and any
other contact information associated with the following accounts:

e “mmaomally23” at https://twitter.com/mmaomally23
e “notamod921” at https://twitter.com/ notamod921
e “dillondanis” at https://twitter.com/dillondanis
2. With respect to only “dillondanis” at https://twitter.com/dillondanis (the
“Account”’)

a) All publicly available posts issued from the Account, including any posts that
were initially publicly available but later deleted.

b) All publicly available messages that were sent to or received from the Account.

c) The Agdal Posts, including all publicly available comments to those posts.

d) All metadata for the Agdal Posts, including (i) the date and time the posts were
made, (ii) the data and time of any repost, (iii) the number of views received by

each post, (iv) the number of views received by each repost, and (v) the date and
time any posts was deleted or otherwise removed.

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e) All metadata for any private posts issued from the Account, including the date
and time the posts were made.

f) All metadata for any private messages that were sent to or received from the
Account, including (i) the date and time the messages were sent/received, (ii) the
username of the account that sent the messages to or received the messages from
the Account, and (iii) the name, address, telephone number or any other contact
information associated with the account that sent the messages to or received the
messages from the Account.

g) All records relating to any action that X took regarding the Account or the
Account user, including post removals, shadow bans, suspensions, or notices of
violations of platform policies.

h) All records reflecting the level of user engagement with the Account’s posts
between July 1, 2023, and October 15, 2023.

i) Records sufficient to identify the daily change in the number of the Account’s
followers between July 1, 2023 and October 15, 2023.

j) Records sufficient to identify the amount of ad revenue the Account generated or
paid to the subscriber of the Account, if any, between July 1, 2023 and October
15, 2023.

PRODUCTION

Email to jshumofsky@sillscummis.com

Record Format: Please provide the requested documents and things in their original
format and in a reasonably usable format, such as in the form of digital/electronic media, i.e.,
CD-Rom, DVD-Rom. A record layout for the data also is requested.

Questions should be directed to:

Joseph Shumofsky

Sills Cummis & Gross, P.C.
One Riverfront Plaza
Newark, N.J. 07102

(973) 643-5382
jshumofsky@sillscummis.com

NOTE: Please also provide an executed copy of the attached “Certificate of
Domestic Records” along with any response.

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APPENDIX — Agdal Posts

“Agdal Posts” refers to the following posts made to the Account, and include any reposts of
these posts to the Account:

1. The following post made on August 11, 2023, with the text, “Up all night doing cardio

but feeling fresh this morning. Time to go spar!”:

com

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LU yom-liMalt=iaiaecoliar:Mer-1cel(oPmel el mici-1i [ale cc-k1a Oni
nate dal aya MT MON Xe RS oli A a

(as the excerpted post above is included for
identification purposes only, the photograph has been redacted)

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2. The following post made on August 28, 2023, with the text “Morning,” attaching a 40-
second video:

€ Dillon Danis @ @dillondanis - Aug 28
Morning

© 19.4K tT 30.6K © 312.7K it 138.8M &

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3. The following post made on September 14, 2023, in response to another post, with the
text “I had a better idea fuck Nina the night before the fight give myself HIV”:

é Dillon Danis @
| had @ better idea fuck Nina the night before the fight give myself HIV.

Bi Happy Punch @ @HappyPunch - 15h
Logan Paul thinks Dillion Danis is going to purposely give himself Covid

Pa i

eee peel ee) eel eels Bs
pte, F SiR tat Bc ele 8)

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4. The following post made on September 23, 2023, with the text “Stop sending me these
Nina,” attaching a video:

é Dillon Danis @ @dillondanis - 8h

Stop sending me these Nina ¢.

(>

© 920 tl 622 QO 18.7K it 984K

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CERTIFICATION OF DOMESTIC RECORDS

OF REGULARLY CONDUCTED ACTIVITY
Pursuant to Fed. R. Evidence 902(11)

The undersigned declarant hereby declares, certifies, verifies or states the following:

1.

The declarant is a records custodian or other qualified person who can provide
a written declaration regarding the records of regularly conducted business
activity that are the subject of this certification.

The records of regularly conducted business activity (hereinafter “records’),
which are the subject of this certification, accompany this certification.

The records are originals or duplicate copies of domestic (United States)
business records;

The records were (i) made at or near the time of the occurrence of the matters
set forth by, or from information transmitted by, a person with knowledge of
those matters, or (ii) received at or near the time of the occurrence of the
matters set forth and contemporaneously incorporated into company files;

The records were kept in the course of a regularly conducted business activity;
and

The records were made by the regularly conducted business activity as a
regular practice.

I hereby declare, certify, verify or state, under penalty of perjury, that the foregoing is
true and correct.

Signature of Declarant

Printed Name

Title

Company Name

Business Address and Telephone Number of Declarant

Date of Declaration / Execution
